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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )               Case No. 8:06CR23
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                    ORDER
JUSTIN ZELENY,                                )
                                              )
                     Defendant.               )


       This case is before the court on the defendant’s Motion to Reopen Detention (#33).

The motion is denied.

       After reviewing the defendant’s motion, I find no new evidence that would cause the

court to change its initial Order of Detention (#15). This is especially true given the

defendant’s history of drug abuse and his significant prior criminal record.

       IT IS ORDERED:

       1. The defendant’s Motion to Reopen Detention (#33) is denied without hearing.

       Dated this 28th day of March 2006.


                                          BY THE COURT:


                                          S/ F. A. Gossett
                                          United States Magistrate Judge
